                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

LORANDA VEIS, and MEFAIL SERIFOSKI,                  ) Case No.: 20-cv-1604
                                                     )
               Plaintiffs,                           )
                                                     ) STIPULATION TO DISMISS
       v.                                            )
                                                     )
MALM & LAFAVE, S.C., and SWEENEY                     )
WELL DRILLING & PUMPS, INC.,                         ) Hon. J.P. Stadtmueller
                                                     )
                                                     )
               Defendants.                           )

       Plaintiffs Loranda Veis and Mefail Serifoski, by counsel, Ademi LLP, and Defendants

Malm & LaFave, S.C. and Sweeney Well Drilling & Pumps, Inc., by counsel, , hereby stipulate,

pursuant to Fed. R. Civ. P. 41(a)(1), that all claims in this action against Defendants are

dismissed with prejudice and without costs to any party. No certified class presently exists in this

case, no class is impacted by this dismissal, and therefore Rule 23(e) of the Federal Rules of

Civil Procedure does not apply.

    Respectfully submitted this 17th day of June 2021.

ADEMI LLP                                     VON BRIESEN & ROPER, S.C.

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